














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-63,079-01






EX PARTE WILLIAM BERKLEY








ON APPLICATION FOR WRIT OF HABEAS CORPUS IN CAUSE


NO. 20000D05705-243-1 IN THE 243RD JUDICIAL DISTRICT COURT OF


EL PASO COUNTY





	Per curiam.  Womack, J., not participating.



O R D E R



	This is a post-conviction application for writ of habeas corpus filed pursuant to the
provisions of Texas Code of Criminal Procedure article 11.071.

	On April 22, 2002, a jury convicted applicant of the offense of capital murder. 
The jury answered the special issues submitted pursuant to Texas Code of Criminal
Procedure article 37.071, and the trial court, accordingly, set punishment at death.  This
Court affirmed applicant's conviction and sentence on direct appeal.  Berkley v. State, No.
AP-74,336 (Tex. Crim. App. 2005)(not designated for publication).

	Applicant presents nine allegations in his application in which he challenges the
validity of his conviction and resulting sentence.  Although an evidentiary hearing was
not held, the trial judge entered findings of fact and conclusions of law.  The trial court
recommended that relief be denied. 

	This Court has reviewed the record with respect to the allegations made by
applicant.  We adopt the trial court's findings and conclusions.  Based upon the trial
court's findings and conclusions and our own review, the relief sought is denied.

	IT IS SO ORDERED THIS THE 8TH DAY OF MARCH, 2006.


Do Not Publish


